  Case 8:18-cv-01175-CJC-KES Document 32 Filed 03/13/19 Page 1 of 1 Page ID #:123

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA                            JS-5
                                   CIVIL MINUTES – GENERAL


 Case No.       SACV 18-01175-CJC (KESx)                           Date      March 13, 2019
 Title          United States of America v. Kenneth Franco et al


PRESENT:

            HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

         Gabriela Garcia                                          Not Reported
         Deputy Clerk                                             Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:                    ATTORNEYS PRESENT FOR DEFENDANT:

         None Present                                             None Present

PROCEEDINGS:           (IN CHAMBERS) ORDER LIFTING STAY


       On January 4, 2019, the Court entered an order staying the entire case due to the lapse
of appropriations to the Department of Justice. Since funding to the Department of Justice
has been restored, the stay that was in place is hereby LIFTED.




                                                                                    -    :        -
                                                  Initials of Deputy Clerk    gga
cc:




CV-90 (06/04)                           CIVIL MINUTES - GENERAL                              Page 1 of 1
